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                            Exhibit 64
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                                                                                1766
                                                              GOVERNANCE

                               We're all on the same team



                                                 Our fans are our top priority

      We're committed to protecting the best interests of our fans in everything we do. Read on to learn how this commitment informs the
                                                  decisions we make at every level of our company.




                                                                   Bill of Rights

                                       We assembled a Bill of Rights so that our players know exactly what to
                                                               expect out of FanDuel
                                                                    Learn more




                                             Our Goal: Fantasy Sports for All

  We are not currently able to offer paid entry fantasy contests in certain states. We are working hard, however, to bring the excitement of our
  fantasy sports contests to players in every state, and provide information below on how you can help us to achieve that goal

                                      Why are paid FanDuel contests not available in certain states?

  The laws regarding fantasy contests vary by state. While many states have clear legislation or legal precedent in place that protects FanDuel
  contests, some states require more legal clarity.


  At FanDuel, we believe that state regulations that increase transparency and ensure contests are fair will benefit the entire fantasy industry,
  most importantly players. That's why we are in discussions with lawmakers anywhere there is legal ambiguity to ensure fans continue to have
  access to FanDuel contests and the fantasy games they love. Check out the map below to learn more about our status in your state.




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                                               See where your state stands

  We are working with lawmakers across the country to clarify any legal ambiguity surrounding fantasy sports, and ensure consumers are
  protected, in order to ensure that fans continue to have access to FanDuel contests and the fantasy games they love. The map below shows
  where we currently offer paid contests.




                                                                                                             FanDuel allows paid contests
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                                            Our Goal: Fantasy Sports for All

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                                               See where your state stands

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                                         Join the team to protect fantasy sports

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                                            Beginner Contests



                                          Who can play Beginner contests:

  Beginner contests are exclusively for less experienced players on FanDuel. To be clear, no one who's played more than 50 contests on
  FanDuel has access to Beginner contests. These are for newer FanDuel players only.
  You have access to Beginner contests for your full first 50 contests on FanDuel. it’s your chance to get up to speed on FanDuel against
  players of an equal experience level. Once you hit the 50-contest milestone, you can move on to Intermediate level contests, where you'll
  take your skills to the next level
  NOTE: If you have big money wins, this can categorize you as an ‘Experienced’ or 'Highly Experienced’ player, even if you've played fewer
  than 50 contests. For example, if you win more than $2,500 — congrats, but we can't call you a beginner anymore. Here's the full breakdown
  on who qualifies as an ‘Experienced’ or ‘Highly Experienced’ player.




                                              Types of Beginner contests:

  We offer three types of Beginner contests, so you're better prepared for each contest type once you've graduated from ‘Beginner’ status.
  Each contest functions the same way as our regular contests — 50/50s, Double Ups, and Tournaments — but, again, these contests are
  available exclusivelyto less experienced FanDuel players.
  Beginner 50/50s: Just finish in the top half to win, no many how many other beginners enter. This is a great starter contest because of how
  many total fans win.

  Beginner Double Ups: Win a Double Up and you literally double your money. You can win more money than you do in 50/50 contest, but
  just under 50% of entries win,
  Beginner Tournaments: Tournaments let you play for more money than other Beginner Contests. But you'll need to put up a top score to
  win. The payouts are high, but the competition is higher, too.




                                          Where to find Beginner contests:

  You can find Beginner contests in the FanDuel Lobby. To enter a Beginner contest, just select a contest from the ‘Beginner Contests’ tab
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  TIP: We also include links to exclusive Beginner contests as part of email promotions. Be sure to check your inbox for Beginner contest
  invites during your first 50 contests on FanDuel.




                                             Also Available: Intermediate Contests

  No longer a beginner? You can still enter Intermediate contests — contests that don't allow entries from ‘Experienced’ or ‘Highly
  Experienced’ players.
  You're eligible to enter Intermediate contests until your 500th contest on FanDuel, or until you rack up four $1,000+ contest wins on FanDuel.




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    NHL                                      Sportsbook & Fantasy (Android)                   Promos                                     New Casino Games                     Twitter
    MLB                                      Sportsbook (i0S)                                 NFL Betting                                Blackjack Online                     Instagram
    Soccer                                   Sportsbook (Android)                             NFL Picks                                  Live Dealer Casino                   YouTube
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  TIP: We also include links to exclusive Beginner contests as part of email promotions. Be sure to check your inbox for Beginner contest
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                                          Also Available: Intermediate Contests

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  You're eligible to enter Intermediate contests until your 500th contest on FanDuel, or until you rack up four $1,000+ contest wins on FanDuel.




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    NHL                                    Sportsbook & Fantasy (Android)          Promos                                        New Casino Games                     Twitter
    MLB                                    Sportsbook (i0S)                        NFL Betting                                   Blackjack Online                     Instagram
    Soccer                                 Sportsbook (Android)                    NFL Picks                                     Live Dealer Casino                   YouTube
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    Golf                                                                           NFL Team Schedules & Odds                     Online Table Games
    Tennis                                                                         OddsFire - Compare Betting                    FanDuel Casino Promo Codes
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                           Experienced Player Indicators




                      Icons for Experienced and Highly Experienced                                             players




                                            Experienced                  Highly Experienced

  If you see a ‘star’ icon next to any FanDuel player's username, it represents a significant amount of contests played or money won. The icons
  above correspond with each level of experience.




              Look for more experienced players within any FanDuel contest

  To see a list of players who have entered a FanDuel contest (including those designated as Experienced or Highly Experienced), follow the
  ‘Entries/Size’ link from the FanDuel Lobby— or, you can select ‘Entries’ from the ‘Contest’ screen.




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               How to become                    an Experienced or Highly Experienced                                    Player

  We measure experienced based on two criteria: 1) total contests played on FanDuel and 2) how many big wins you've brought home. Hit



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                How to become                       an Experienced or Highly Experienced                                               Player

  We measure experienced based on two criteria: 1) total contests played on FanDuel and 2) how many big wins you've brought home. Hit
  either threshold and we'll label you as an Experienced or Highly Experienced player. Check out the specific milestones for each tier of
  FanDuel player below.
              Experienced player requirements:
              More than 500 total contests entered, OR
              $2,500 won across 6 or more contests
              Highly Experienced player requirements:
              More than 1,000 total contests entered, OR
              $1,000+ won in 4 or more contests




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                                  HOW TO PLAY
                              CHOOSE A CONTEST
                              Choose from a huge variety of contest types across all
                              sports.




                              DRAFT YOUR LINEUP
                                                                                                 {7 FANTASY
                              Draft a new lineup every day.




                              WATCH
                              Watch your lineup(s) move up the leaderboard in real
                              time.




                              WIN
                              You don't have to finish first to win money!




                                          Play like a pro with                      & our




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                                          Play like a pro with                         & our




                                     FOOTBALL          |     BASKETBALL            |       HOCKEY   |   BASEBALL




                               ALL YOUR FAVORITE SPORTS
                       Play fantasy NFL, NBA, NHL, MLB, CFB, Soccer, Golf, NASCAR,
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                                               guaranteed prize pools                                       other new players



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                                        Draft a lineup with players across a slate               Draft a lineup with players from one
                                                       of games                                                  game



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                                        Play against
                                               league your
                                                       or a friends
                                                            one-day in contest
                                                                        a fullseason           Take turns picking players in a live draft



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                                        Play season-long fantasy with no roster                  Double your money or play for even
                                                       management                                                  more




                                                                                                          aes
                                         Winner-take-all! Compete head-to-head                        Compete against a smaller field
                                                against a single opponent




                                                      50/50s                                   by TUS                           se
                                         Finish in the top half of the leaderboard              rays win entries
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                                                                         thousands in prizes   each




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                            REWARDS                                           TICKETS                                        CLUB
                Exclusive promotions and rewards you can't   Enter contests for FREE with Vouchers and   Earn points and enjoy exclusive rewards as a
                             get anywhere else                                 Tickets                               thanks for your loyalty



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                     REFER A FRIEND
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                                                                                                             Tickets
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                                                                          You have $15.00                          B You have $50 in tickets! #
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                                                               More rewards from FanDuel                     Free to play




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                                                      Learn everything you need to start winning today




                                  Whether you're starting a new sport, shaking off some off-season rust, or just want to put in some extra reps —
                                   we're here to help. Our special training camps give you the basics of roster construction as well as some next-
                                            level strategies so you can start winning from Day1. Just pick your sport below to get started.




                                  NFL Training Guide
                                        Wiew Now,




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                                                          ROSTER               CONSTRUCTION
                                         Every player has a salary. Fill all the positions without going over the $35,000 salary cap.



                                                                              @)               Roster Breakdown:
                                                           ®@_© (um)
                                                  ® ®




                                                                                               1 Pitcher
                                                                                               1Catcher/ First Basemen
                                                                                               1Second Basemen
                                                                                               1 Short Stop
                                                                                               1 Third Basemen
                                                                                               3 Outfielders
                                                                                               1 Utility




                                               NEW MULTI-POSITION                                     ELIGIBILITY
                                         Cash-in on your player's versatility. If a player typically plays multiple positions, they can
                                                                  be drafted into any of those positions.



                                               PLAYER                         POSITIONS




                                                                                                           Select
                                                                                            OR
                                                                                                           Select




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                                                                    SCORING              GUIDE
                                                                   ’s how you'll score points and win cash.


                                      dG       ales)                                                                HITTERS




                                                             MORE             WAYS TO WIN
                                                                 Find the game style that's right for you.




                                                                                                         One game. One contest. In this
                             Our classic, 9-player roster with
                                                                                                         game style, you build a 5-player
                                        a salary cap.
                                                                                                          roster using players from only

                                       Play Now                                                                   one MLB game.




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                                     FULL ROSTER                                                                 eee)
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                             Our classic, 9-player roster with       1789                                       One game. One contest. In this
                                       a salary cap.                                                            game style, you build a 5-player
                                                       .                                                         roster using players from only
                                         Play Now                                                                         one MLB game.

                                                                                                                           Play Now



                                                                                                                    SNAKE      DRAFT

                                                                                                          The simplest way to play. Draft
                                                                                                         6 players in a 6-round draft with
                                                                                                          30 seconds per pick. No salary
                                                                                                           caps and a max of 12 players.

                                    GD                       RAFT                                                      Per contest
                                                                                                                          Draft now




                                             numberFire STRATEGY                                                CENTER
                                                           Our friends at numerFire are here to help you start winning.

                                                                                      >
                                                                  SPEND          WHERE           IT COUNTS
                                       The easiest way to score points in a hurry is by splurging on a top-end starting pitcher. Here’s
                                             how lineups performed in 2018 based on how much salary was spent on pitching.




                                                                          STACKS            ON    DECK
                                          Stacking is when you use multiple players from the same team on one roster. if Xander
                                      Bogaerts doubles with Mookie Betts on third base, you get the points for Bett’s run scored and
                                                  Bogaerts’s RBI. And the more players you have in your stack, the better.

                                                                     AVERAGE LINEUP SCORE




                                                                     1 Player                            16.9
                                                                     2 Players                            191
                                                                     2 Plavars                           yon




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                                                                     1 Player                                16.9
                                                                     2 Players                                191
                                                                     3 Players                               120.2
                                                                     4 Players                                1218




                                                                                    q
                                                                    PARK         FACTORS        MATTER
                                        Unlike other sports, not all fields are the same in baseball. That means you need to factor in
                                        how“batter friendly” a park is — also known as a park factor — when filling out your lineups.



                                                           6.02 AT HOME                                        472 AT HOME
                                                        (PARK FACTOR: 1332)                                 (PARK FACTOR: 0.826)
                                                        ON THE ROAD: 4.12                               ON THE ROAD: 6.19




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                                                                     BATTING PRACTICE
                                                 Toot              EAL re                wings at the low       entry fee«
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                    Parnas                             52 Entry F                               52 Entry F                            Peas
                    OTIC


$1 Entry Fee" Enter now


Enter now



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                                            2025 CFB Playoff National              FanDuel Sportsbook NC
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     Golf                                                                          NFL Team Schedules & Odds                 Online Table Games
     Tennis                                                                        OddsFire - Compare Betting                FanDuel Casino Promo Codes
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     Golf                                                                             NFL Team Schedules & Odds                  Online Table Games
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                                                            WHAT IS AUTO-DRAFT AND HOW DO! DO IT?
                                                            ‘Auto-draft is a feature that allows you to have your picks automatically be selected for
                                                            you. These selections are either based on the order of your queue or the order of
                                                            FanDuel's rankings.
                                                            If you have your queue set up, that will take precedence. If your queue Is not set up, then
                                                            the auto-draft will default to the projected score rankings for any specific draft.

                                                            To turn auto-draft on or off simply toggle the blue “auto-draft” button in the middle of the
                                                            screen, You may decide to turn auto-draft on or off at any given time before or during a
                                                            draft. Once selected, you will confirm that you wish to enable or disable auto-dratt.
                                                                           Draft Settings.                                               x

                                                                               Auto-Draft
                                                                           a




                                                             If time runs out during your selection, you will automatically have auto-draft enabled.



                                                                      DID THIS ARTICLE              ANSWER          YOUR      QUESTION?




                                                                                             STILL NEED HELP?




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                                                             CAN I CREATE MY OWN FANTASY CONTEST?
                                                            ‘Yes! You can create your own contest directly from the FanDuel Lobby. To create your
                                                            own contest:

                                                            1. Visit the Lobby
                                                              2. Click or tap on "Create Contest” in the top-left corner of the Lobby page
                                                              3. Build a contest based on the contest rules available
                                                              4, Select “Start my league” and submit your lineup
                                                              5. Share with friends! Invite your friends to play in your contest via the shareable link

                                                            If you're playing with friends it’s best to invite more friends to enter your contest than.
                                                            there are available spots. This way, it's more likely that your contest will fill by game time.
                                                            If the contest doesn't fill, it will not pay out prizes unless it fits the following criteria.
                                                                1. Must be set for five (5) or more entries
                                                                2. At least 80% of the spots must be filled
                                                                3. The contest has an entry fee of $25 or less
                                                             It your contest meets these requirements it will pay out prizes. If your private contest
                                                             does not fill and does not meet these criteria, the contest will run as a free game—all
                                                             entry fees will be returned to the users’ accounts
                                                             Does playing with friends sound like fun? To play in a league that has recurring contests
                                                             check out Friends Mode!




                                                                      DID THIS ARTICLE               ANSWER          YOUR      QUESTION?




                                                                                        STILL NEED HELP?




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 Help                                  Responsible Gaming                                                                                                                                FanDuel Inc
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 Accessibility                         Timeout
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                                                            WHERE CAN | PLAY FANDUEL CASINO?
                                                            ‘You must physically be located within the borders of New Jersey, Michigan,
                                                            Pennsylvania, and West Virginia to play on FanDuel Casino. You can also play in
                                                            Connecticut through our partners at the Mohegan Sun.


                                                                      DID THIS ARTICLE              ANSWER         YOUR     QUESTION?




                                                                                        STILL NEED HELP?




                                                                                                    Contact us

Help                                Responsible Gaming                                                                                                            FanDuel Inc
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                                     Ma ete
                                        PUN
                                          Wondering which states allow online casino gambling for real money?
                                  Online casino games are legal to play in MI, PA, NJ, WV, and CT with FanDuel Casino.
                                 States that have online casinos are always changing and growing as new legislation is
                                  adapted. FanDuel Casino is also available in Ontario, Canada. See the interactive map
                                   of real money online casino gambling states below, then read on to learn about how
                                                              you can gamble online today.




                                                                                                  NOT AVAILABLE



                                             READY TO PLAY ONLINE CASINO
                                                GAMES IN YOUR STATE?
        Check out FanDuel Casino in your state for the most popular online blackjack games, slot games, table games, online baccarat, live
                     dealer casino games and more! Play it again and get up to $1000 back if you're down after your first day!



                                                        PLAY ONLINE CASINO GAMES IN MICHIGAN

                                                     PLAY ONLINE CASINO GAMES IN PENNSYLVANIA

                                                       PLAY ONLINE CASINO GAMES IN NEW JERSEY

                                                     PLAY ONLINE CASINO GAMES IN WEST VIRGINIA



Document title: States Where Online Casinos are Legal 2025 | FanDuel
Capture URL: https://www.fanduel.com/casino/states-where-online-casinos-are-legal
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                                                     PLAY ONLINE CASINO 1801
                                                                         GAMES IN PENNSYLVANIA

                                                       PLAY ONLINE CASINO GAMES IN NEW JERSEY

                                                     PLAY ONLINE CASINO GAMES IN WEST VIRGINIA

                                                      PLAY ONLINE CASINO GAMES IN CONNECTICUT



                                                                 START PLAYING ONLINE TODAY




         Looking for tips and strategies for playing your favorite online casino games for real money? Check out our Casino 101 guide for
         tips on how to play your favorite casino games, popular casino game recommendations, top online casino strategies and more!




                                    NEW JERSEY                                      SATE IT


                                     NSTne      Sere
                                              in New Jersey!
                                                                                           FanDuel Casino is available
                                                                                                 in Pennsylvania!

                                Click here to play online casino games like         Click here to play online casino games like
                                   slots, roulette, blackjack, games with              slots, roulette, blackjack, games with
                                jackpots, live table games and more in NJ.          jackpots, live table games and more in PA.


                                     PLAY FANDUEL CASINO IN NJ                           PLAY FANDUEL CASINO IN PA




                                       MICHIGAN                                     WEST VIRGINIA




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                                      PLAY FANDUEL CASINO IN MI                              PLAY FANDUEL CASINO   IN WV




                                                                  PLAY FANDUEL CASINO IN CT




     ABOUT                         SPORTSBOOK ODDS               FANDUEL SPORTS BETTING       FANDUEL NEWS                 FANDUEL GROUP PRODUCTS
                                                                 STATES




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                                                                                 slots, roulette, blackjack, games with
                    Case 3:25-cv-01146-GC-JTQ jackpots,
                                                  Document
                                                        live table 1-9     Filed
                                                                   games and more 02/10/25
                                                                                   in CT.                                                             Page 39 of 71 PageID:
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                                            SPORTSBOOK ODDS                         FANDUEL SPORTS BETTING                  FANDUEL NEWS.                             FANDUEL GROUP PRODUCTS
                                                                                    STATES
                                            NBA                                                                             uFC                                       FanDuel Sportsboo
                                            NFL Odds                                              tsbook AZ                                                           The Duel
                                                                                                     book CA
                                            MLB O                                                                           NFL
                                                                                                     book CO
                                            Golf Odds
                                            UFC Odds
                                                     Football Odds                                                                   Basketball
                                                     Basketball Odds

                                            NASCAR Odds
                                            NHL Odds
                                                  Bowl 59 Odds

                                                           layoff Nal
                                                           nip Odds




     FANTASY SPORTS                         FANDUEL APPS                                                                    FANDUEL CASINO                            FOLLOW FANDUEL
     NFL                                    Fantasy (iOS                                                                    Onlines
     NHL                                                                            Prom                                    New C
     MLB                                                                            NFL Betti                               Blackjack Online
                                                                                    NFL Picks
    cre                                                                                                                                                               s
    Golf                                                                                                                    Online Tal
    Tennis                                                                          oasis                                                asino Promo Co
                                                                                    Odds
    NASCAR
    WNBA
    cee

                                                                                   vacy Policy    + California Pri                                    + Your Privacy Choic



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     www.mdgamblinghelp.org (MD). Call 1-877-8HOPE-NY or text HOPENY (467369) (NY). 21+ (18+ D.C.) and present in select states (for KS, in affiliation with Kansas Star Casino).
     Persons under 21 are not permitted to engage in sports wagering. For customer support please contact us.

    @        sn NDG section Gambing THAT!                                 €2       2. @ rm~ Sightline sme                                                                                       Backto top 7


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                            Exhibit 74
     L977 piCase 3:25-cv-01146-GC-JTQ
                  Me etaa oy orl Clit eal Document 1-9                                                   Filed 02/10/25                    Page Search
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                                                                                                                                                        topic,PageID:
                                                                                                                                                                keyword, etc.
                                                                                           1805



                                               HOW OLD DOI HAVE TO BE TO BET OR PLAY ON
                                                                                                                                                    Related Articles
                                               FANDUEL?
                                                                                                                                                    FanDuel House Rules Hub
                                               FanDuel follows all state, provincial, and local rules for age and residency requirements
                                               for all our fantasy and free-to-play contests, along with casino, FanDuel Faceoff, and               FanDuel in Washington, D.C.
                                               sports betting.
                                                                                                                                                    Where can | play FanDuel
                                               ‘These requirements are in place to ensure you are of legal age and meet identity                    Casino?
                                               verification requirements.

                                               How old do | have to be to bet on FanDuel Sportsbook?
                                               ‘You must be at least 21 years old to wager using a FanDuel Sportsbook account in most
                                               states.

                                               ‘You must be 18+ in Washington, D.C. Note: /f you are between the ages of 18-20, you will
                                               be restricted from using the Sportsbook app when trying to log in outside of the District.
                                               ‘You must be 19+ in Canada in order to play on FanDuel Sportsbook and FanDuel Casino,

                                               ‘You must be 18+ and a territorial resident of Puerto Rico to wager online or at the in-
                                               person sportsbook.

                                               What are FanDuel Sportsbook's identify verification
                                               requirements?
                                               ‘To place a wager in the following states, the customer's address must be verified:
                                               Connecticut, lowa, Maryland, New Jersey, New York and Pennsylvania

                                               The following states have ad       jonal authentication requirements:

                                               Connecticut, New Jersey and Pennsylvania

                                               You can learn more about these additional security measures if you create your account
                                               while in those states.

                                               How old do | have to be to play in FanDuel Fantasy or DFS
                                               contests?
                                               ‘You must be at least 18 years old to enter a DFS contest in most states.

                                               -Alabama: at least 19 years old.

                                               -Arizona, lowa, Louisiana, and Massachusetts: at least 21 years old

                                               How old do | have to be to play on FanDuel Racing or TVG?
                                               ‘You must be at least 21 years old to play with FanDuel Racing.



                                                         DID THIS ARTICLE                ANSWER         YOUR       QUESTION?




                                                                          STILL NEED HELP?




Document title: How old do I have to be to bet or play on FanDuel?
Capture URL: https://support.fanduel.com/s/article/How-old-do-I-have-to-be-to-bet-or-play-on-FanDuel
Capture timestamp (UTC): Fri, 07 Feb 2025 22:30:54 GMT                                                                                                                            Page 1 of 2
                                       You must be 18+ in Washington,
                     Case 3:25-cv-01146-GC-JTQ                Document   D.C. Note:1-9
                                                                                    If you are Filed
                                                                                               between the  ages of 18-20, you Page
                                                                                                         02/10/25                 will 42 of 71 PageID:
                                       be restricted from using the Sportsbook 1806
                                                                                 app when trying to log in outside of the District.
                                                             You must be 19+ in Canada in order to play on FanDuel Sportsbook and FanDuel Casino.

                                                             You must be 18+ and a territorial resident of Puerto Rico to wager online or at the in
                                                             person sportsbook.

                                                            What are FanDuel Sportsbook's identify verification
                                                             requirements?
                                                            ‘To place a wager in the following states, the customer's address must be verified:
                                                             Connecticut, lowa, Maryland, New Jersey, New York and Pennsylvania

                                                            The following states have ad        jonal authentication requirements:

                                                             Connecticut, New Jersey and Pennsylvania

                                                            You can learn more about these additional security measures if you create your account
                                                            while in those states.

                                                             How old do | have to be to play in FanDuel Fantasy or DFS
                                                             contests?
                                                             You must be at least 18 years old to enter a DFS contest in most states.

                                                             -Alabama: at least 19 years old.

                                                             -Arizona, lowa, Louisiana, and Massachusetts: at least 21 years old

                                                             How old do | have to be to play on FanDuel Racing or TVG?
                                                             You must be at least 21 years old to play with FanDuel Racing,



                                                                      DID THIS ARTICLE                 ANSWER         YOUR       QUESTION?




                                                                                        STILL NEED HELP?
                                                                                                               AN




                                                                                                       Contact us

  Help                              Responsible Gaming                                                                                                FanDuel Inc
  Contact us                        User limits                                                                                                                New York, NY
  Accessibility                     Timeout
  Terms of Use                      Self-exclusion
  Privacy Policy                    Player activity
  Your Privacy Choices              statements
                                                                                                                                                                      Live CHAT

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  If you or someone you know has a gambling problem or wants help, please check out our Responsible Gaming resources.


 ©                                                                                                                                                             Back to top &




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Capture URL: https://support.fanduel.com/s/article/How-old-do-I-have-to-be-to-bet-or-play-on-FanDuel
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                            Exhibit 75
                                                                                                                                                    Sens
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           a)


                                                                        <                          Parental controls



      About Responsible Gaming
                                                                 Parental controls

      User tools                                                 FanDuel verifies all accounts for age and eligibility. If minors (under 18 (19 in AL & 21 in AZ, IA, LA, MA) for daily fantasy or
                                                                 under 21 (18 in DC) for Sportsbook/Casino) have access to your computer, your account or your personal information,
      Deposit Threshold                                          please consider installing parental control software to prevent access to FanDuel and other age-restricted sites. If you
                                                                 believe a minor is playing on FanDuel, please contact customer support here. Ifa minor is found playing on FanDuel, then
      Parental controls                                          that account will be closed.

      Additional resources
                                                                 Underage gambling
                                                                 Please note that anyone under the age of 21 years old found to be using this site for internet or mobile wagering purposes,
      Account information                                        as well as anyone who facilitates someone under the age of 21 years old using the site for internet or mobile wagering
                                                                 purposes, will be reported to law enforcement and will be subject to other legal penalties.
      Privacy policy
                                                                 Underage gambling is a criminal offense and anyone who facilitates gambling by a person under the age of 21 has.
      Prohibitions and restrictions                              committed a criminal offense and shall be prohibited from internet gaming.




  Help                                  More                                                                                                                                            FanDuel Inc
   Contact Us                           Do Not Sell                                                                                                                                         New York, NY
   FAQ
   Responsible Gaming
   Accessibility
   Modern Slavery Statement
   Tacs
   Privacy Policy



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                            Exhibit 76
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                                                                       1810


                                                   Se)




                                                            CAN | BET ON GAMES INVOLVING
                                                               SCHOOLS FROM MY STATE?
                                                    SV       AZ,CO, IA, INKS, KY, LA, MD, MI, MS,
                                                                   NC, TN, OH, PA, WV, WY

                                                    x         Nu, CT, IL, DC, MA*, NY, VA, VT#, WA


                                                                CAN | BET ON PRE-GAME
                                                                    PLAYER PROPS?
                                                    JV      CT, DC*, IA’ (RETAIL ONLY), IL*, IN’, KS,
                                                                 KY, MI, NC, NU*, WA*, WV, WY

                                               x         AZ, CO, LA, MA, MD, MS, NY, OH, PA, TN, VA, VT




                                                                                                          Xf        XZ    NZ




Document title: Daily Fantasy Sports and Online U.S. Sportsbook | FanDuel
Capture URL: https://www.fanduel.com/collegesports-rules
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                                                             CAN | BET ON GAMES INVOLVING
                                                                SCHOOLS FROM MY STATE?
                                                    V         AZ, CO, 1A, IN‘KS, KY, LA, MD, MI, MS,
                                                                     NC, TN, OH, PA, WV, WY

                                                     xX        Nu, CT, IL, DC, MA*, NY, VA, VT#, WA


                                                                 CAN | BET ON PRE-GAME
                                                                     PLAYER PROPS?
                                                    JV       CT, DC*, IA’ (RETAIL ONLY), IL*, IN', KS,
                                                                  KY, MI, NC, Nu*, WA*, WV, WY

                                               x          AZ, CO, LA, MA, MD, MS, NY, OH, PA, TN, VA, VT




Document title: Daily Fantasy Sports and Online U.S. Sportsbook | FanDuel
Capture URL: https://www.fanduel.com/collegesports-rules
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                            Exhibit 77
                                                                                                                                                 ae
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       Amazon CloudFront                  <          Documentation > Amazon CloudFront > Developer Guide
       Developer Guide
                                                     Request and response behavior for custom
      What is Amazon CloudFront?
      Get started
                                                     origins
      Configure distributions                                                   ©   Focus mode
      Caching and availability
      Control the cache key with a policy
                                                                                                                                             On this page
      Control origin requests with a policy          To understand how CloudFront processes requests and responses when you're using
                                                     custom origins, see the following sections:                                               How CloudFront processes and
      Add or remove response headers                                                                                                           forwards requests to your
      with a policy                                                                                                                            custom origin
                                                     Topics
      Request and response behavior                                                                                                            How CloudFront processes
<




          How CloudFront processes HTTP.              * How CloudFront processes and forwards requests to your custom origin                   responses from your custom
          and HTTPS requests                                                                                                                   origin
                                                      * How CloudFront processes responses from your custom origin
          Request and response behavior
          for Amazon $3 origins                                                                                                              Did this page help you?
          Request and response beh:
          for custom origins                         How CloudFront processes and forwards requests
          Request and response behavior              to your custom origin                                                                   Provide feedback
          for origin groups
          Add custom headers to origin               Learn about how CloudFront processes viewer requests and forwards the requests to
          requests
          How CloudFront processes range
                                                     your custom origin.

                                                     Contents
                                                                                                                                             ©
          GETs
          How CloudFront processes HTTP.              *   Authentication
          3x status codes from your                   *   Caching duration and minimum TTL
          origin
          How CloudFront processes HTTP.              *   Client IP addresses
          4xx and 5xx status codes from               *   Client-side SSL authentication
          your origin                                 *   Compression
       > Generate custom error responses              *   Conditional requests
      Add, remove, of replace content                 *   Cookies
vvy




      Use AWS WAF protections
                                                      *   Cross-origin resource sharing (CORS)
      Configure secure access and restrict
      access to content                               *   Encryption
      video on demand and live                        *   GET requests that include a body
v




      streaming video                                 *   HTTP methods
      Use functions to customize at the               *   HTTP request headers and CloudFront behavior (custom and Amazon S3 origins)
v




      edge
                                                      *   HTTP version
      Reports, metrics, and logs
                                                      *   Maximum length of a request and maximum length of a URL
vvy




      Security
                                                      +   OCSP stapling
      Troubleshooting
                                                      *   Persistent connections
      Quotas
                                                      *   Protocols
      Code examples
                                                      *   Query strings
v




      Document history
                                                      *   Origin connection timeout and attempts
                                                      ©   Origin response timeout
                                                      + Simultaneous requests for the same object (request collapsing)
                                                      * User-Agent header

                                                     Authentication
                                                     If you forward the Authorization headerto your origin, you can then configure
                                                     your origin server to request client authentication for the following types of
                                                     requests:




Document title: Request and response behavior for custom origins - Amazon CloudFront
Capture URL: https://docs.aws.amazon.com/AmazonCloudFront/latest/DeveloperGuide/RequestAndResponseBehaviorCustomOrigin.html
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                                                                                            Al resources
      aes)
                                                     Iryou torwara the AUTNOr1zat1oN headerto your origin, you can then conngure
       Amazon CloudFront                  <          your origin server to request client authentication for the following types of                 On this   page
       Developer Gulde                               requests:                                                                                         How CloudFront processes and
                                                                                                                                                       forwards requests to your
                                                      ©   DELETE                                                                                       custom origin
      What is Amazon CloudFront?                      +   GET                                                                                          How CloudFront processes
      Get started                                                                                                                                      responses from your custom
                                                      +   HEAD                                                                                         origin
      Configure distributions
                                                      *   PATCH
      Caching and availability
      Control the cache key with a policy             +   PUT                                                                                       Did this page help you?
      Control origin requests with a policy           *   POST
      Add or remove response headers                 For OPTIONS requests, client authentication can only be configured if you use the
      with a policy                                                                                                                                 Provide feedback
                                                     following CloudFront settings:
      Request and response behavior

                                                                                                                                                    ©
<




          How CloudFront processes HTTP.              + CloudFront is configured to forward the Authorization header to your origin
          and HTTPS requests                          + CloudFront is configured to not cache the response to OPTIONS requests
          Request and response behavior
          for Amazon $3 origins                      For more information, see Configure CloudFront to forward the Authorization
          Request and response beh:                  header.
          for custom origins
          Request and response behavior              You can use HTTP or HTTPS to forward requests to your origin server. For more
          for origin groups                          information, see Use HTTPS with CloudFront.
          Add custom headers to origin
          requests                                   Caching duration and minimum TTL
          How CloudFront processes range
          GETs                                       To control how long your objects stay in a CloudFront cache before CloudFront
                                                     forwards another request to your origin, you can:
          How CloudFront processes HTTP.
          3x status codes from your                   * Configure your origin to add a Cache-Control or an Expires header field to
          origin
                                                        each object.
          How CloudFront processes HTTP.
          4xx and 5xx status codes from               + Specify a value for Minimum TTL in CloudFront cache behaviors.
          your origin                                 ©   Use the default value of 24 hours.
       > Generate custom error responses
      Add, remove, of replace content                For more information, see Manage how long content stays in the cache (expiration).
vvy




      Use AWS WAF protections
                                                     Client IP addresses
      Configure secure access and restrict
      access to content                              If a viewer sends a request to CloudFront and does not include an X-Forwarded-
      video on demand and live                       For request header, CloudFront gets the IP address of the viewer from the TCP
v




      streaming video
                                                     connection, adds an X-Forwarded-For header that includes the IP address, and
      Use functions to customize at the              forwards the request to the origin. For example, if CloudFront gets the IP address
v




      edge
                                                      192.0.2.2 from the TCP connection, it forwards the following header to the
      Reports, metrics, and logs
                                                     origin:
vvy




      Security
      Troubleshooting                                X-Forwarded-For:        192.0.2.2
      Quotas                                         If a viewer sends a request to CloudFront and includes an X-Forwarded-For
      Code examples                                  request header, CloudFront gets the IP address of the viewer from the TCP
v




      Document history                               connection, appends it to the end of the X-Forwarded-For header, and forwards
                                                     the request to the origin. For example, if the viewer request includes X-
                                                     Forwarded-For: 192.0.2.4,192.0.2.3 and CloudFront gets the IP address
                                                      192.0.2.2 from the TCP connection, it forwards the following header to the
                                                     origin:
                                                     X-Forwarded-For:        192.0.2.4,192.0.2.3,192.0.2.2

                                                     Some applications, such as load balancers (including Elastic Load Balancing), web
                                                     application firewalls, reverse proxies, intrusion prevention systems, and API Gateway,
                                                     append the IP address of the CloudFront edge server that forwarded the request
                                                     onto the end of the X-Forwarded-For header. For example, if CloudFront



Document title: Request and response behavior for custom origins - Amazon CloudFront
Capture URL: https://docs.aws.amazon.com/AmazonCloudFront/latest/DeveloperGuide/RequestAndResponseBehaviorCustomOrigin.html
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                                                                                           Al resources
      aes)

                                                     application firewalls, reverse proxies, intrusion prevention systems, and API Gateway,
       Amazon CloudFront                  <          append the IP address of the CloudFront edge server that forwarded the request
                                                                                                                                                  On this   page
       Developer Gulde                                                                                                                               How CloudFront processes and
                                                     onto the end of the X-Forwarded-For header. For example, if CloudFront                          forwards requests to your
                                                     includes X-Forwarded-For: 192.0.2.2 ina request that it forwards to ELB and                     custom origin
      What is Amazon CloudFront?                     if the IP address of the CloudFront edge server is 192.0.2.199, the request that your           How CloudFront processes
      Get started                                    EC2 instance receives contains the following header:                                            responses from your custom
                                                                                                                                                     origin
      Configure distributions
                                                     X-Forwarded-For:       192.0.2.2,192.0.2.199
      Caching and availability
      Control the cache key with a policy                                                                                                         Did this page help you?
                                                        © Note
      Control origin requests with a policy
                                                           The X-Forwarded-For header contains         IPv4 addresses (such as
      Add or remove response headers
      with a policy                                        192.0.2.44) and IPv6 addresses (such as                                                Provide feedback
                                                           2001:0db8:85a3::8a2e:0370:7334).
      Request and response behavior

                                                                                                                                                  ©
<




          How CloudFront processes HTTP.                   Also note that the X-Forwarded-For header may be modified by every
          and HTTPS requests                               node on the path to the current server (CloudFront). For more information,
          Request and response behavior                    see section 8.1 in RFC 723914, You can also modify the header using
          for Amazon $3 origins                            CloudFront edge compute functions.
          Request and response beh:
          for custom origins
          Request and response behavior              Client-side SSL authentication
          for origin groups
          Add custom headers to origin               CloudFront does not support client authentication with client-side SSL certificates. If
          requests                                   an origin requests a client-side certificate, CloudFront drops the request.
          How CloudFront processes range
          GETs                                       Compression
          How CloudFront processes HTTP.
          3x status codes from your                  For more information, see Serve compressed files.
          origin
          How CloudFront processes HTTP.             Conditional requests
          4xx and 5xx status codes from
          your origin                                When CloudFront receives a request for an object that has expired from an edge
       > Generate custom error responses             cache, it forwards the request to the origin either to get the latest version of the
      Add, remove, of replace content                object or to get confirmation from the origin that the CloudFront edge cache
                                                     already has the latest version. Typically, when the origin last sent the object to
vvy




      Use AWS WAF protections
      Configure secure access and restrict
                                                     CloudFront, it included an ETag value, a LastModified value, or both values in
      access to content                              the response. In the new request that CloudFront forwards to the origin, CloudFront
      video on demand and live                       adds one or both of the following:
v




      streaming video                                 + An If-Match or If-None-Match header that contains the ETag value for
      Use functions to customize at the                 the expired version of the object.
v




      edge
      Reports, metrics, and logs
                                                      + An If-Modified-Since header that contains the LastModified value for
                                                        the expired version of the object.
vvy




      Security
      Troubleshooting                                The origin uses this information to determine whether the object has been updated
      Quotas                                         and, therefore, whether to return the entire object to CloudFront or to return only
      Code examples                                  an HTTP 304 status code (not modified).
v




      Document history
                                                        © Note
                                                            If-Modified-Since and If-None-Match conditional requests are
                                                            not supported when CloudFront is configured to forward cookies (all or a
                                                            subset).
                                                            For more information, see Cache content based on cookies.


                                                     Cookies
                                                     You can configure CloudFront to forward cookies to your origin. For more



Document title: Request and response behavior for custom origins - Amazon CloudFront
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      aes)

                                                     Cookies
       Amazon CloudFront                  <                                                                                                     On this   page
       Developer Gulde                               You can configure CloudFront to forward cookies to your origin. For more                      How CloudFront processes and
                                                     information, see Cache content based on cookies.                                              forwards requests to your
                                                                                                                                                   custom origin
      What is Amazon CloudFront?                                                                                                                   How CloudFront processes
      Get started                                    Cross-origin resource sharing (CORS)                                                          responses from your custom
                                                                                                                                                   origin
      Configure distributions                        If you want CloudFront to respect cross-origin resource sharing settings, configure
      Caching and availability                       CloudFront to forward the Origin headerto your origin. For more information, see
      Control the cache key with a policy            Cache content based on request headers.                                                    Did this page help you?
      Control origin requests with a policy
      Add or remove response headers                 Encryption
      with a policy                                                                                                                             Provide feedback
                                                     You can require viewers to use HTTPS to send requests to CloudFront and require
      Request and response behavior
                                                     CloudFront to forward requests to your custom origin by using the protocol that is
                                                                                                                                                ©
<




          How CloudFront processes HTTP.             used by the viewer. For more information, see the following distribution settings:
          and HTTPS requests
          Request and response behavior               * Viewer protocol policy
          for Amazon $3 origins                       *    Protocol (custom origins only)
          Request and response beh:
          for custom origins                         CloudFront forwards HTTPS requests to the origin server using the SSLv3, TLSv1.0,
          Request and response behavior              TLSv1.1, and TLSv1.2 protocols. For custom origins, you can choose the SSL
          for origin groups                          protocols that you want CloudFront to use when communicating with your origin:
          Add custom headers to origin
          requests                                    + If you're using the CloudFront console, choose protocols by using the Origin SSL
          How CloudFront processes range
                                                        Protocols check boxes. For more information, see Create a distribution,
          GETs                                        + If you're using the CloudFront API, specify protocols by using the
          How CloudFront processes HTTP.                 Originss1Protocols element. For more information, see OriginSs|Protocols
          3x status codes from your                     and DistributionConfig in the Amazon CloudFront API Reference.
          origin
          How CloudFront processes HTTP.             If the origin is an Amazon $3 bucket, CloudFront always uses TLSv1.2.
          4xx and 5xx status codes from
          your origin                                     & Important
       > Generate custom error responses                     Other versions of SSL and TLS are not supported.
      Add, remove, of replace content
vvy




      Use AWS WAF protections
                                                     For more information about using HTTPS with CloudFront, see Use HTTPS with
      Configure secure access and restrict           CloudFront. For lists of the ciphers that CloudFront supports for HTTPS
      access to content
                                                     communication between viewers and CloudFront, and between CloudFront and your
      video on demand and live                       origin, see Supported protocols and ciphers between viewers and CloudFront.
v




      streaming video
      Use functions to customize at the
                                                     GET requests that include a body
v




      edge
      Reports, metrics, and logs                     Ifa viewer GET request includes a body, CloudFront returns an HTTP status code
vvy




      Security                                       403 (Forbidden) to the viewer.
      Troubleshooting
      Quotas                                         HTTP methods
      Code examples
                                                     If you configure CloudFront to process all of the HTTP methods that it supports,
v




      Document history                               CloudFront accepts the following requests from viewers and forwards them to your
                                                     custom origin:

                                                      ©    DELETE
                                                      +    GET
                                                      +    HEAD
                                                      *    OPTIONS
                                                      *    PATCH
                                                      *    POST
                                                      +    PUT




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     aws                               GetstartedServcegudes          _Developertoos_Alresurces
                                                                                 1817                                    Cnn                 )
                                               ©    PATUR
     Amazon CloudFront                   <     *    POST                                                                                      On this   page
     Developer Guide                           .    boR                                                                                          How CloudFront processes and
                                                                                                                                                 forwards requests to your
                                               CloudFront always caches responses to GET and HEAD requests. You can also                         custom origin
 > What is Amazon CloudFront?                                                                                                                    How CloudFront processes
 > Get started                                 configure CloudFront to cache responses to OPTIONS requests. CloudFront does                    responses from your custom
                                               not cache responses to requests that use the other methods.                                      origin
 >   Configure distributions

 > Caching and availability                    For information about configuring whether your custom origin processes these
 > Control the cache key with a policy         methods, see the documentation for your origin.                                                Did this page help you?
 > Control origin requests with a policy
 > Add or remove response headers                  & Important
                                                                                                                                              Provide
     with a policy                                    If you configure CloudFront to accept and forward to your origin all of the              rovige feedback
                                                                                                                                                       feeabact
 ¥ Request and response behavior                      HTTP methods that CloudFront supports, configure your origin server to
      How CloudFront processes HTTP                   handle all methods. For example, if you configure CloudFront to accept                  ©
      and HTTPS requests                              and forward these methods because you want to use POST, you must
      Request and response behavior                   configure your origin server to handle DELETE requests appropriately so
        for Amazon $3 origins                         viewers can't delete resources that you don't want them to. For more
        Request and response beh:                     information, see the documentation for your HTTP server.
        for custom origins

        Request and response behavior
        for origin groups                      HTTP request headers and CloudFront behavior (custom
        Add custom headers to origin           and Amazon         $3 origins)
       requests
       How CloudFront processes range         The following table lists HTTP request headers that you can forward to both custom
      GETs                                    and Amazon S3 origins (with the exceptions that are noted). For each header, the
       How CloudFront processes HTTP          table includes information about the following:
        3xx status codes from your
       origin                                  + CloudFront behavior if you don't configure CloudFront to forward the header to
        How CloudFront processes HTTP            your origin, which causes CloudFront to cache your objects based on header
        4xx and 5xx status codes from              values.
       your origin                             * Whether you can configure CloudFront to cache objects based on header values
    > Generate custom error responses             for that header.
 > Add, remove, or replace content                You can configure CloudFront to cache objects based on values in the Date and
 > Use AWS WAF protections                         User-Agent headers, but we don't recommend it. These headers have many
 > Configure secure access and restrict           possible values, and caching based ontheir values would cause CloudFront to
   access to content                              forward significantly more requests to your origin.
 D   Video on demand and live
     streaming video                           For more information about caching based on header values, see Cache content
 > Use functions to customize at the
                                               based on request headers.
     edge
 > Reports, metrics, and logs                   Header                    Behavior if you don't configure         Caching based
 > Security                                                               CloudFront to cache based on            on header
 > Troubleshooting                                                       header values                            values is
   ouotas                                                                                                         supported
 > Code examples                                Other-defined              Legacy cache settings —                Yes
   Document history                             headers                    CloudFront forwards the
                                                                           headers to your ori
                                                 Accept                    CloudFront removes the header.         Yes
                                                 Accept-                   CloudFront removes the header.         Yes
                                                  Charset
                                                 Accept-                   If the value contains gzip or          Yes
                                                Encoding                    br, CloudFront forwards a
                                                                           normalized Accept-
                                                                           Encoding header to your
                                                                           origin.



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                                                                                        All resources
      aes)
                                                                          normalized Accept-
       Amazon CloudFront                  <                               Encoding header to your                               On this   page
       Developer Gulde                                                    origin.                                                  How CloudFront processes and
                                                                                                                                   forwards requests to your
                                                                          For more information, see                                custom origin
      What is Amazon CloudFront?                                                                                                   How CloudFront processes
                                                                          Compression support and Serve
      Get started                                                                                                                  responses from your custom
                                                                          compressed files.                                        origin
      Configure distributions
                                                     Accept-              CloudFront removes the header.        Yes
      Caching and availability
                                                     Language                                                                   Did this page help you?
      Control the cache key with a policy
      Control origin requests with a policy          Authorization         *    GET and HEAD requests —         Yes
      Add or remove response headers
                                                                               CloudFront removes the
      with a policy                                                            Authorization header                             Provide feedback
      Request and response behavior                                            field before forwarding the

                                                                                                                                ©
<




                                                                               request to your origin.
          How CloudFront processes HTTP.
          and HTTPS requests                                               *    OPTIONS requests—
          Request and response behavior                                        CloudFront removes the
          for Amazon $3 origins                                                Authorization header
          Request and response beh:                                            field before forwarding the
          for custom origins                                                   request to your origin if you
          Request and response behavior                                        configure CloudFront to
          for origin groups                                                    cache responses to
          Add custom headers to origin                                          OPTIONS requests.
          requests                                                             CloudFront forwards the
          How CloudFront processes range                                       Authorization header
          GETs                                                                 field to your origin if you do
          How CloudFront processes HTTP.                                       not configure CloudFront to
          3x status codes from your                                            cache responses to
          origin
                                                                               OPTIONS requests.
          How CloudFront processes HTTP.
          4xx and 5xx status codes from                                    +   DELETE, PATCH, POST,
          your origin                                                          and PUT requests—
       > Generate custom error responses                                       CloudFront does not
      Add, remove, of replace content                                          remove the header field
                                                                               before forwarding the
vvy




      Use AWS WAF protections
                                                                               request to your origin.
      Configure secure access and restrict
      access to content                              Cache-Control        CloudFront forwards the header. =     No
      video on demand and live                                            to your origin.
v




      streaming video
      Use functions to customize at the              CloudFront-          CloudFront does not add the           Yes
                                                                          header before forwarding the
v




      edge                                           Forwarded-
                                                     Proto                request to your origin.
      Reports, metrics, and logs
vvy




      Security                                                            For more information, see
      Troubleshooting                                                     Configure caching based on the
      Quotas                                                              protocol of the request.
      Code examples                                  CloudFront-Is-       CloudFront does not add the           Yes
v




      Document history                               Desktop-Viewer       header before forwarding the
                                                                          request to your origin.

                                                                          For more information, see
                                                                          Configure caching based on the
                                                                          device type.
                                                     CloudFront-Is-       CloudFront does not add the           Yes
                                                     Mobile-Viewer        header before forwarding the
                                                                          request to your origin.

                                                                          For more information, see
                                                                          Configure caching based on the



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      Amazon CloudFront                   <                                 For more information, see                                             On this    page
      Developer Gulde                                                       Configure caching based on the                                           How CloudFront processes and
                                                                            device type.                                                             forwards requests to your
                                                                                                                                                     custom origin
 > What is Amazon CloudFront?                           CloudFront-Is-       CloudFront does not add the             Yes                             How CloudFront processes
 > Get started                                        Tablet-Viewer         header before forwarding the                                            responses from your custom
                                                                            request to        your origin.
 > Configure distributions                                                    4           x           i                                              engin
 D   Caching and availability                                               For more     information,         see
 > Control the cache key with a policy                                      Configure caching based on the                                        Did this page help you?
 > Control origin requests with a policy                                    device type.
 > Add or remove response headers                      CloudFront-          CloudFront does not add the               Yes
     with a policy                                     Viewer -Country      header before forwarding the                                          Provide feedback
 ¥ Request and response behavior                                            request to your origin.
        How CloudFront processes HTTP                 Connection            CloudFront replaces this header          No                           ©
        and HTTPS requests                                                  with Connection:                 Keep-
        Request and response behavior                                       ALive before forwarding the
        for Amazon $3 origins                                                                  _
                                                                            request to your origin.
        Request and response beh:
        for custom origins                             Content -            CloudFront forwards the header. =         No
        Request and response behavior                 Length                to your origin.
        for origin groups                              Content -MDS         CloudFront forwards the header            Yes
        ‘Add custom headers to origin                                       to your origin.
        requests
        How CloudFront processes range
                                                       Content-Type         CloudFront forwards the header            Yes
       Gers                                                                 to your origin.
        How CloudFront processes HTTP                 Cookie                If you configure CloudFront to            No
        3xx status codes from your                                          forward cookies, it will forward
       origin                                                               the Cookie header field to
        How CloudFront processes HTTP                                      your origin. If you don't,
        4xx and 5xx status codes from                                       CloudFront        removes the
        your origin                                                                .
                                                                              Cookie header field. For more
    > Generate custom error responses                                       .        .
                                                                            information, see Cache content
 > Add, remove, or replace content                                          based on cookies.
 > Use AWS WAF protections
                                                      Date                  CloudFront forwards the header            _—_Yes, but not
 > Configure secure access and restrict                                     to your origin.                           recommended
   access to content
 > Video on demand and live                           Expect                CloudFront removes the header.            Yes
   streaming video                                    From                  CloudFront forwards the header            Yes
 } Use functions to customize at the                                        to your origin.
   edge
                                                       Host                 CloudFront sets the value to the          Yes (custom)
 > Reports, metrics, and logs                                                     .                .
                                                                            domain name of the origin that
 > Security                                                                 is associated with the requested          No (S3 and
 > Troubleshooting                                                         object.                                    MediaStore)
     Quotas
 > Code examples
                                                                            You can't cache based on the
                                                                            Host header for Amazon $3 or
     Document history                                                       MediaStore origins.
                                                      If-Match              CloudFront forwards the header            Yes
                                                                            to your origin.
                                                      If-Modified-          CloudFront forwards the header            Yes
                                                       Since                to your origin.
                                                      If-None-Match         CloudFront forwards the header            Yes
                                                                            to your origin.
                                                      If-Range              CloudFront forwards the header            Yes
                                                                            to your origin.




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                                                                                           Al resources
      —7

                                                     If-Range                CloudFront forwards the header     Yes                          On this   page
      Amazon CloudFront                   <
      Developer Gulde                                                        to your origin.
                                                                                                                                                How CloudFront processes and
                                                     If -Unmodified-         CloudFront forwards the header     Yes                             forwards requests to your
                                                     Since                   to your origin.                                                    custom origin
      What is Amazon CloudFront?                                                                                                                How CloudFront processes
      Get started                                    Max-Forwards            CloudFront forwards the header     No                             responses from your custom
      Configure distributions                                                to your origin.                                                    origin
      Caching and availability                       origin                  CloudFront forwards the header      Yes
                                                                             to your origin.                                                 Did this page help you?
                                                                                                                 -
      Control the cache key with a policy
      Control origin requests with a policy          Pragma                  CloudFront forwards the header
      Add or remove response headers                                         to your origin.
      with a policy                                                                                                                          Provide feedback
                                                     Proxy-                  CloudFront removes the header.      No
      Request and response behavior                  Authenticate
                                                                                                                 No                          ©
<




          How CloudFront processes HTTP.
          and HTTPS requests                         Proxy-                  CloudFront removes the header.
          Request and response behavior
                                                     Authorization
          for Amazon $3 origins                      Proxy-                  CloudFront removes the header.      No
          Request and response beh:                  Connection
          for custom origins
          Request and response behavior
                                                     Range                   CloudFront forwards the header      Yes, by default
          for origin groups                                                  to your origin. For more
          Add custom headers to origin
                                                                             information, see How
          requests                                                           CloudFront processes partial
                                                                             requests for an object (range
          How CloudFront processes range
          GETs                                                               GETs).
          How CloudFront processes HTTP.             Referer                 CloudFront removes the header.
          3x status codes from your
          origin                                     Request -Range          CloudFront forwards the header
          How CloudFront processes HTTP.
                                                                             to your origin.
          4xx and 5xx status codes from              TE                      CloudFront removes the header.
          your origin
                                                     Trailer                 CloudFront removes the header.
       > Generate custom error responses
      Add, remove, of replace content                Transfer-               CloudFront forwards the header      No
                                                     Encoding                to your origin.
vvy




      Use AWS WAF protections
      Configure secure access and restrict           upgrade                 CloudFront removes the header,      No (except for
      access to content                                                      unless you've established a         WebSocket
      video on demand and live                                               WebSocket connection.               connections)
v




      streaming video
                                                     User-Agent              CloudFront replaces the value of    Yes, but not
      Use functions to customize at the                                      this header field with Amazon       recommended
v




      edge
                                                                             CloudFront. If you want
      Reports, metrics, and logs
                                                                             CloudFront to cache your
vvy




      Security                                                               content based on the device the
      Troubleshooting                                                        user is using, see Configure
      Quotas                                                                 caching based on the device
      Code examples                                                          type.
v




      Document history                               Via                     CloudFront forwards the header
                                                                             to your origin.
                                                     Warning                 CloudFront forwards the header
                                                                             to your origin.
                                                     X-amz-Cf-Id             CloudFront adds the header to       No
                                                                             the viewer request before
                                                                             forwarding the request to your
                                                                             origi |. The header value
                                                                             contains an encrypted string
                                                                             that uniquely identifies the
                                                                             request.



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      aes)

                                                                                  contains an encrypted string
       Amazon CloudFront                  <                                      that uniquely identifies the                                       On this   page
       Developer Gulde                                                            request.                                                             How CloudFront processes and
                                                                                                                                                       forwards requests to your
                                                        X-Edge-*                  CloudFront removes all X-               No                           custom origin
      What is Amazon CloudFront?                                                  Edge-* headers.                                                      How CloudFront processes
      Get started                                                                                                                                      responses from your custom
                                                        X-Forwarded-              CloudFront forwards the header          Yes                          origin
      Configure distributions
                                                      For.                       to your origin. For more
      Caching and availability                                                    information, see Client IP
      Control the cache key with a policy                                         addresses.
                                                                                                                                                    Did this page help you?
      Control origin requests with a policy             X-Forwarded-              CloudFront removes the header.          No
      Add or remove response headers                    Proto
      with a policy                                                                                                                                 Provide feedback
      Request and response behavior                     X-HTTP-Method-            CloudFront removes the header.          Yes


                                                                                                                                                    ©
<




          How CloudFront processes HTTP.                Override
          and HTTPS requests                            X-Real-IP                 CloudFront removes the header.          No
          Request and response behavior
          for Amazon $3 origins
          Request and response beh:                  HTTP version
          for custom origins
                                                     CloudFront forwards requests to your custom origin using HTTP/1.1.
          Request and response behavior
          for origin groups
          Add custom headers to origin               Maximum length of a request and maximum length of a
          requests                                   URL
          How CloudFront processes range             The maximum length of a request, including the path, the query string (if any), and
          GETs
                                                     headers, is 20,480 bytes.
          How CloudFront processes HTTP.
          3x status codes from your                  CloudFront constructs a URL from the request. The maximum length of this URL is
          origin                                     8192 bytes.
          How CloudFront processes HTTP.
          4xx and 5xx status codes from              If a request or a URL exceeds these maximums, CloudFront returns HTTP status code
          your origin                                413, Request Entity Too Large, to the viewer, and then terminates the TCP
       > Generate custom error responses             connection to the viewer.

      Add, remove, of replace content
vvy




      Use AWS WAF protections                        OCSP stapling
      Configure secure access and restrict
      access to content                              When a viewer submits an HTTPS request for an object, either CloudFront or the
      video on demand and live                       viewer must confirm with the certificate authority (CA) that the SSL certificate for
                                                     the domain has not been revoked. OCSP stapling speeds up certificate validation by
v




      streaming video
      Use functions to customize at the              allowing CloudFront to validate the certificate and to cache the response from the
                                                     CA, so the client doesn't need to validate the certificate directly with the CA.
v




      edge
      Reports, metrics, and logs                     The performance improvement of OCSP stapling is more pronounced when
                                                     CloudFront receives numerous HTTPS requests for objects in the same domain. Each
vvy




      Security
      Troubleshooting                                server in a CloudFront edge location must submit a separate validation request.
      Quotas                                         When CloudFront receives a lot of HTTPS requests for the same domain, every
      Code examples
                                                     server in the edge location soon has a response from the CA that it can "staple" to a
                                                     packet in the SSL handshake; when the viewer is satisfied that the certificate is valid,
v




      Document history                               CloudFront can serve the requested object. If your distribution doesn't get much
                                                     traffic in a CloudFront edge location, new requests are more likely to be directed to
                                                     a server that hasn't validated the certificate with the CA yet. In that case, the viewer
                                                     separately performs the validation step and the CloudFront server serves the object.
                                                     That CloudFront server also submits a validation request to the CA, so the next time
                                                     it receives a request that includes the same domain name, it has a validation
                                                     response from the CA.

                                                     Persistent connections
                                                     When CloudFront gets a response from your origin, it tries to maintain the



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      aws                              Get started         Service guides      Developer tools 1822
                                                                                               Al resources
      aes)
                                                     Persistent connections
       Amazon CloudFront                  <                                                                                                           On this   page
       Developer Gulde                               When CloudFront gets a response from your origin, it tries to maintain the                          How CloudFront processes and
                                                     connection for several seconds in case another request arrives during that period.                  forwards requests to your
                                                     Maintaining a persistent connection saves the time required to re-establish the TCP                 custom origin
      What is Amazon CloudFront?                     connection and perform another TLS handshake for subsequent requests.                               How CloudFront processes
      Get started                                                                                                                                        responses from your custom
                                                     For more information, including how to configure the duration of persistent                         origin
      Configure distributions
                                                     connections, see Keep-alive timeout (custom origins only) in the section Distribution
      Caching and availability
                                                     settings reference.
      Control the cache key with a policy                                                                                                             Did this page help you?
      Control origin requests with a policy          Protocols
      Add or remove response headers
      with a policy                                  CloudFront forwards HTTP or HTTPS requests to the origin server based on the                     Provide feedback
      Request and response behavior                  following:
                                                                                                                                                      ©
<




          How CloudFront processes HTTP.              + The protocol of the request that the viewer sends to CloudFront, either HTTP or
          and HTTPS requests
                                                        HTTPS.
          Request and response behavior
          for Amazon $3 origins                       + The value of the Origin Protocol Policy field in the CloudFront console or, if
          Request and response beh:                     you're using the CloudFront API, the OriginProtocolPolicy element in the
          for custom origins                             DistributionConfig complex type. In the CloudFront console, the options
          Request and response behavior                 are HTTP Only, HTTPS Only, and Match Viewer.
          for origin groups
                                                     If you specify HTTP Only or HTTPS Only, CloudFront forwards requests to the
          Add custom headers to origin
          requests                                   origin server using the specified protocol, regardless of the protocol in the viewer
                                                     request.
          How CloudFront processes range
          GETs                                       If you specify Match Viewer, CloudFront forwards requests to the origin server using
          How CloudFront processes HTTP.             the protocol in the viewer request. Note that CloudFront caches the object only once
          3x status codes from your                  even if viewers make requests using both HTTP and HTTPS protocols.
          origin
          How CloudFront processes HTTP.
          4xx and 5xx status codes from                 & Important
          your origin                                           If CloudFront forwards a request to the origin using the HTTPS protocol,
       > Generate custom error responses                        and if the origin server returns an invalid certificate or a self-signed
      Add, remove, of replace content                           certificate, CloudFront drops the TCP connection.
vvy




      Use AWS WAF protections
      Configure secure access and restrict           For information about how to update a distribution using the CloudFront console,
      access to content                              see Update a distribution. For information about how to update a distribution using
      video on demand and live                       the CloudFront API, go to UpdateDistribution in the Amazon CloudFront API
v




      streaming video                                Reference.
      Use functions to customize at the
v




      edge                                           Query strings
      Reports, metrics, and logs
                                                     You can configure whether CloudFront forwards query string parameters to your
vvy




      Security
      Troubleshooting                                origin. For more information, see Cache content based on query string parameters.
      Quotas
                                                     Origin connection               timeout and attempts
      Code examples
v




      Document history                               Origin connection timeout is the number of seconds that CloudFront waits when
                                                     trying to establish a connection to the origin.
                                                     Origin connection attempts is the number of times that CloudFront attempts to
                                                     connect to the origin.
                                                     Together, these settings determine how long CloudFront tries to connect to the
                                                     origin before failing over to the secondary origin (in the case of an origin group) or
                                                     returning an error response to the viewer. By default, CloudFront waits as long as 30
                                                     seconds (3 attempts of 10 seconds each) before attempting to connect to the
                                                     secondary origin or returning an error response. You can reduce this time by
                                                     specifying a shorter connection timeout, fewer attempts, or both




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  aws>,                                Get started        Service guides    Developer tools 1823
                                                                                            Al resources
                                                     seconds (5 attempts of 1U seconds each) before attempting to connect to the
    Amazon CloudFront                     <          secondary origin or returning an error response. You can reduce this time by                     On this    page
    Developer Gulde                                  specifying a shorter connection timeout, fewer attempts, or both.                                   How CloudFront processes and
                                                                                                                                                         forwards requests to your
                                                     For more information, see Control origin timeouts and attempts.                                     custom origin
 > What is Amazon CloudFront?                                                                                                                            How CloudFront processes
 > Get started                                       Origin response timeout                                                                            responses from your custom
 > Configure distributions                                                                                                                               engin
                                                     The origin response timeout, also known as the origin read timeout or origin request
 > Caching and availability                                        "                        -
                                                     timeout, applies to both of the following:                                                          id thi     help      you?
 > Control the cache key with a policy                                                                                                                Did this page help you?
 > Control origin requests with a policy              *   The amount of time, in seconds, that CloudFront waits for a response after
 > Add or remove response headers                         forwarding a request to the origin.
   with a policy                                      *   The amount of time, in seconds, that CloudFront waits after receiving a packet              Provide feedback
 ¥ Request and response behavior                          of a response from the origin and before receiving the next packet.
       How CloudFront processes HTTP                 CloudFront behavior depends on the HTTP method of the viewer request:                            ©
       and HTTPS requests
       Request and response behavior                  *   GET and HEAD requests- If the origin doesn’t respond or stops responding
       for Amazon S53 origins                             within the duration of the response timeout, CloudFront drops the connection.
       Request and response beh                           If the specified number of origin connection attempts is more than 1,
       for custom origins                                 CloudFront tries again to get a complete response. CloudFront tries up to 3
       Request and response behavior                      times, as determined by the value of the origin connection attempts setting. If
       for origin groups                                  the origin doesn't respond during the final attempt, CloudFront doesn’t try
       ‘Add custom headers to origin                      again until it receives another request for content on the same origin.
       requests
         a                                            *   DELETE, OPTIONS, PATCH, PUT, and POST requests - If the origin doesn’t
       How    CloudFront                                                        +                +                                      i
       cers      oucFront Processes range                 respond for the duration of the read timeout, CloudFront drops the connection
                                                          and doesn't try again to contact the origin. The client can resubmit the request
       How CloudFront processes HTTP                      if necessar
       3x status codes from your                                        y
     origin                                          For more information, including how to configure the origin response timeout, see
      How CloudFront processes HTTP                  Response timeout (custom origins only).
      4xx and 5xx status codes from
      your origin                                      .                                               .
    > Generate custom error responses                Simultaneous
                                                         tlapsi         requests     for   the same object (request
 > Add, remove, or replace content                   collapsing)
 > Use AWS WAF protections                           When a CloudFront edge location receives a request for an object and the object
 > Configure secure access and restrict              isn't in the cache or the cached object is expired, CloudFront immediately sends the
   access to content                                 request to the origin. However, if there are simultaneous requests for the same
 > Video on demand and live                          object—that is, if additional requests for the same object (with the same cache key)
   streaming video                                   arrive at the edge location before CloudFront receives the response to the first
 > Use functionsto customize at the                  request—CloudFront pauses before forwarding the additional requests to the origin.
  edge                                               This brief pause helps to reduce the load on the origin. CloudFront sends the
 > Reports, metrics, and logs                        response from the original request to all the requests that it received while it was
 > security                                          paused. This is called request collapsing. In CloudFront logs, the first request is
 > Troubleshooting                                   identified as a Miss in the x-edge-result-type field, and the collapsed
   Quotas                                            requests are identified as a Hit . For more information about CloudFront logs, see
                                                     CloudFront and edge function logging.
 > Code examples
   Document history                                  CloudFront only collapses requests that share a cache key. If the additional requests
                                                     do not share the same cache key because, for example, you configured CloudFront
                                                     to cache based on request headers or cookies or query strings, CloudFront forwards
                                                     all the requests with a unique cache key to your origin.
                                                     If you want to prevent all request collapsing, you can use the managed cache policy
                                                      CachingDisabled, which also prevents caching. For more information, see Use
                                                     managed cache policies,
                                                     If you want to prevent request collapsing for specific objects, you can set the
                                                     minimum TTL for the cache behavior   to 0 and configure the origin to send Cache-
                                                     Control: private, Cache-Control: no-store, Cache-Control: no-



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     aws>,                                Get started            Service guides      Developer tools 1824
                                                                                                     Al resources
                                                        If you want to prevent request collapsing tor specific objects, you can set the
      Amazon CloudFront                      <          minimum TTL for the cache behavior to 0 and configure the origin to send Cache-                   Ontl      page
      Developer Gulde                                   Control: private, Cache-Control: no-store, Cache-Control: no-                                       How CloudFront processes and
                                                        cache, Cache-Control: max-age=0, or Cache-Control: s-maxage=                                        forwards requests to your custom
                                                                                                                                                            origin
 >   What is Amazon CloudFront?
                                                        These configurations will increase the load on your origin and introduce additional
                                                                                                                                                            How         CloudFront
 > Get started
                                                        latency for the simultaneous
                                                                              :
                                                                                      requests that are paused while CloudFront waits for                         low    CloudFron® Processes
                                                                                                                                                            responses from your custom
                                                        the response to the first request.
 > Configure distributions
 > Caching and availability                                  a
                                                                   Important                                                                                od thi
 > Control the cache key with a policy                                                                                                                    Did this page help you?
                                                                   Currently, CloudFront doesn't support request collapsing if you enable
 >
      Ontror origin reauests sts wits
     Control                       with
                                        policy
                                           i
                                                                   cookie‘ forwarding in the cache policy,
                                                                                                       .
                                                                                                           the origini request policy, or the
 > Add or remove response headers                                  Tet gacy cache settings.
                                                                                       ir
   with a policy                                                                                                                                          Provide feedback
 YY Request and response behavior
        How CloudFront processes HTTP                   User -Agent header                                                                                ©
        and HTTPS requests
        Request and response behavior                   If you want CloudFront to cache different versions of your objects based on the
        for Amazon $3 origins                           device that a user is using to view your content, we recommend that you configure
        Request and response beh                        CloudFront to forward one or more of the following headers to your custom origin:
        for custom origins
                                                         * CloudFront -Is-Desktop-Viewer
        Request and response behavior
       for origin groups                                 * CloudFront-Is-Mobile-Viewer
        Add custom headers to origin                     *       CloudFront-Is-SmartTV-Viewer
       requests                                                                    .
                                                         * CloudFront-Is-Tablet -Viewer
        How CloudFront processes range
       GETS                                             Based on the value of the User-Agent header, CloudFront sets the value of these
        How CloudFront processes HTTP                   headers to true or false before forwarding the request to your origin. If a device
        3xx status codes from your                                                                            .
        rain                                            falls into more than one category, more than one value might be true. For
        How CloudFront processes HTTP
                                                        example,
                                                              .
                                                                   for. some tablet devices, CloudFront might set
                                                                                                               .
                                                                                                                  both CloudFront-Is-
       Axx and Sxx status codes from                    Mobile-Viewer and CloudFront-Is-Tablet-Viewer to true. For more
       your origin                                      information about configuring CloudFront to cache based on request headers, see
     > Generate custom error responses                  Cache content based on request headers.
 > Add, remove, or replace content                                   .                           .
                                                        You can configure CloudFront to cache objects based on values .in the User -Agent
 > Use AWS WAF protections                              header, but we don't recommend it. The User-Agent header has many possible
 > Configure secure access and restrict                 values, and caching based on those values would cause CloudFront to forward
   access to content                                     sanifi                                wl
                                                        significantly more requests to your origin.
 D   Video on demand and live
   streaming video                                      If you do not configure CloudFront to cache objects based on values in the User-
 > Use functionsto customize at the                     Agent header, CloudFront adds a User-Agent header with the following value
   edge                                                 before it forwards a request to your origin:
 > Reports, metrics, and logs
 > Security
                                                        User-Agent = Amazon CloudFront
 > Troubleshooting                                      CloudFront adds this header regardless of whether the request from the viewer
   Quotas                                               includes a User-Agent header. If the request from the viewer includes a User-
 > code examples                                        Agent header, CloudFront removes it.
   Document history

                                                        How CloudFront processes responses from your
                                                        custom origin
                                                        Learn how CloudFront processes responses from your custom origin.

                                                        Contents

                                                         * 100 Continue responses
                                                         * Caching
                                                         @       Canceled rennacts




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                                                      *    100 Continue responses
      Amazon CloudFront                   <           *    Caching
                                                                                                                                                    On this   page
      Developer Gulde                                                                                                                                  How CloudFront processes and
                                                      *    Canceled requests                                                                           forwards requests to your custom
                                                      *    Content negotiation                                                                         origin
      What is Amazon CloudFront?                                                                                                                       How CloudFront processes
                                                      *    Cookies                                                                                     responses from your custom
      Get started
                                                      *    Dropped TCP connections
      Configure distributions
                                                      *    HTTP response headers that CloudFront removes or replaces
      Caching and availability
      Control the cache key with a policy
                                                      *    Maximum cacheable file size                                                              Did this page help you?
      Control origin requests with a policy           *    Origin unavailable
      Add or remove response headers                  *    Redirects
      with a policy                                   *     Transfer-Encoding header                                                                Provide feedback
      Request and response behavior

                                                                                                                                                    ©
<




          How CloudFront processes HTTP.             100      Continue responses
          and HTTPS requests
          Request and response behavior              Your origin cannot send more than one 100-Continue response to CloudFront. After
          for Amazon $3 origins                      the first 100-Continue response, CloudFront expects an HTTP 200 OK response. If
          Request and response beh:                  your origin sends another 100-Continue response after the first one, CloudFront will
          for custom origins                         return an error.

          Request and response behavior
          for origin groups                          Caching
          Add custom headers to origin
          requests                                    + Ensure that the origin server sets valid and accurate values for the Date and
          How CloudFront processes range                Last -Modified header fields.
          GETs                                        + CloudFront normally respects a Cache-Control: no-cache header in the
          How CloudFront processes HTTP.                 response from the origin. For an exception, see Simultaneous requests for the
          3x status codes from your                      same object (request collapsing).
          origin
          How CloudFront processes HTTP.
          4xx and 5xx status codes from              Canceled requests
          your origin
                                                     If an object is not in the edge cache, and if a viewer terminates a session (for
       > Generate custom error responses
                                                     example, closes a browser) after CloudFront gets the object from your origin but
      Add, remove, of replace content                before it can deliver the requested object, CloudFront does not cache the object in
vvy




      Use AWS WAF protections                        the edge location.
      Configure secure access and restrict
      access to content                              Content negotiation
      video on demand and live
v




      streaming video                                If your origin returns Vary: * in the response, and if the value of Minimum TTL for
      Use functions to customize at the              the corresponding cache behavior is 0, CloudFront caches the object but still
v




      edge                                           forwards every subsequent request for the object to the origin to confirm that the
      Reports, metrics, and logs                     cache contains the latest version of the object. CloudFront doesn't include any
                                                     conditional headers, such as If-None-Match or If-Modified-Since. Asa
vvy




      Security
      Troubleshooting                                result, your origin returns the object to CloudFront in response to every request.
      Quotas                                         If your origin returns Vary: * in the response, and if the value of Minimum TTL for
      Code examples                                  the corresponding cache behavior is any other value, CloudFront processes the
v




      Document history                                Vary header as described in HTTP response headers that CloudFront removes or
                                                     replaces.

                                                     Cookies
                                                     If you enable cookies for a cache behavior, and if the origin returns cookies with an
                                                     object, CloudFront caches both the object and the cookies. Note that this reduces
                                                     cacheability for an object. For more information, see Cache content based on
                                                     cookies.

                                                     Dropped TCP connections




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       Amazon CloudFront                  <                                                                                                      On this   page
       Developer Gulde                               Dropped TCP connections                                                                        How CloudFront processes and
                                                                                                                                                    forwards requests to your custom
                                                     If the TCP connection between CloudFront and your origin drops while your origin is            origin
      What is Amazon CloudFront?                     returning an object to CloudFront, CloudFront behavior depends on whether your                 How CloudFront processes
      Get started                                    origin included a Content-Length header in the response:                                       responses from your custom
      Configure distributions                         +   Content-Length header - CloudFront returns the object to the viewer as it gets
      Caching and availability                            the object from your origin. However, if the value of the Content-Length
      Control the cache key with a policy                 header doesn't match the size of the object, CloudFront doesn't cache the              Did this page help you?
      Control origin requests with a policy               object.
      Add or remove response headers                  *   Transfer-Encoding: Chunked — CloudFront returns the object to the viewer as it
      with a policy                                                                                                                              Provide feedback
                                                        gets the object from your origin. However, if the chunked response is not
      Request and response behavior                     complete, CloudFront does not cache the object.
          How CloudFront processes HTTP.
          and HTTPS requests
                                                      + No Content-Length header— CloudFront returns the object to the viewer and
                                                        caches it, but the object may not be complete. Without a Content-Length
                                                                                                                                                 ©
          Request and response behavior                 header, CloudFront cannot determine whether the TCP connection was dropped
          for Amazon $3 origins                         accidentally or on purpose.
          Request and response beh:
          for custom origins                         We recommend that you configure your HTTP server to add a Content -Length
          Request and response behavior              header to prevent CloudFront from caching partial objects.
          for origin groups
          Add custom headers to origin               HTTP response headers that CloudFront removes or
          requests
                                                     replaces
          How CloudFront processes range
          GETs                                       CloudFront removes or updates the following header fields before forwarding the
          How CloudFront processes HTTP.             response from your origin to the viewer:
          3x status codes from your
          origin                                      *    Set-Cookie — If you configure CloudFront to forward cookies, it will forward
          How CloudFront processes HTTP.                  the Set-Cookie header field to clients. For more information, see Cache
          4xx and 5xx status codes from                   content based on cookies.
          your origin
                                                      +   Trailer
       > Generate custom error responses
                                                      + Transfer-Encoding —If your origin returns this header field, CloudFront sets
      Add, remove, of replace content
                                                        the value to chunked before returning the response to the viewer.
vvy




      Use AWS WAF protections
                                                      * Upgrade
      Configure secure access and restrict
      access to content                               + Vary - Note the following:
      video on demand and live                           © If you configure CloudFront to forward any of the device-specific headers to
v




      streaming video                                      your origin (CloudFront -Is-Desktop-Viewer, CloudFront-Is-
      Use functions to customize at the                      Mobile-Viewer, CloudFront-Is-SmartTV-Viewer, CloudFront-
v




      edge                                                 Is-Tablet -Viewer ) and you configure your origin to return Vary :User-
      Reports, metrics, and logs                            Agent to CloudFront, CloudFront returns Vary: User-Agent to the
vvy




      Security                                              viewer. For more information, see Configure caching based on the device
      Troubleshooting                                       type.
      Quotas                                             © If you configure your origin to include either Accept-Encoding or
      Code examples                                          Cookie in the Vary header, CloudFront includes the values in the
v




      Document history                                        response to the viewer.
                                                          © If you configure CloudFront to forward headers to your origin, and if you
                                                            configure your origin to return the header names to CloudFront in the
                                                             Vary header (for example, Vary: Accept-Charset, Accept -
                                                            Language), CloudFront returns the Vary header with those values to the
                                                            viewer.
                                                          © For information about how CloudFront processes a value of * in the Vary
                                                              header, see Content negotiation.
                                                          © If you configure your origin to include any other values in the Vary header,
                                                            CloudFront removes the values before returning the response to the viewer.
                                                      *   Via —ClondFront sets the vale ta the fallawina in the resnanse ta the viewer:




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                                                         © If you configure your origin to include any other values in the Vary header,
       Amazon CloudFront                  <                 CloudFront removes the values before returning the response to the viewer.
                                                                                                                                                      On this   page
       Developer Gulde                                                                                                                                   How CloudFront processes and
                                                      + Via - CloudFront sets the value to the following in the response to the viewer:                  forwards requests to your custom
                                                        Via: http-version alphanumeric-string .cloudfront.net                                            origin
      What is Amazon CloudFront?                                                                                                                         How CloudFront processes
                                                        (CloudFront)
      Get started                                                                                                                                        responses from your custom
                                                        For example, the value is something like the following:
      Configure distributions
                                                         Via:    1.1   1026589cc7887e7a0dc7827b4example.cloudfront.net
      Caching and availability
                                                         (CloudFront)                                                                                 Did this page help you?
      Control the cache key with a policy
      Control origin requests with a policy
                                                     Maximum cacheable file size
      Add or remove response headers
      with a policy                                                                                                                                   Provide feedback
                                                     The maximum size of a response body that CloudFront saves in its cache is 50 GB.
      Request and response behavior                  This includes chunked transfer responses that don't specify the Content-Length
                                                                                                                                                      ©
<




          How CloudFront processes HTTP.             header value.
          and HTTPS requests
          Request and response behavior              You can use CloudFront to cache an object that is larger than this size by using range
          for Amazon $3 origins                      requests to request the objects in parts that are each 50 GB or smaller. CloudFront
          Request and response beh:                  caches these parts because each of them is 50 GB or smaller. After the viewer
          for custom origins                         retrieves all the parts of the object, it can reconstruct the original, larger object. For
          Request and response behavior              more information, see Use range requests to cache large objects.
          for origin groups
          Add custom headers to origin               Origin unavailable
          requests
          How CloudFront processes range             If your origin server is unavailable and CloudFront gets a request for an object that is
          GETs                                       in the edge cache but that has expired (for example, because the period of time
          How CloudFront processes HTTP.             specified in the Cache-Control max-age directive has passed), CloudFront either
          3x status codes from your                  serves the expired version of the object or serves a custom error page. For more
          origin                                     information about CloudFront behavior when you've configured custom error pages,
          How CloudFront processes HTTP.             see How CloudFront processes errors when you have configured custom error pages.
          4xx and 5xx status codes from
          your origin                                In some cases, an object that is seldom requested is evicted and is no longer
       > Generate custom error responses             available in the edge cache. CloudFront can't serve an object that has been evicted.
      Add, remove, of replace content
                                                     Redirects
vvy




      Use AWS WAF protections
      Configure secure access and restrict           If you change the location of an object on the origin server, you can configure your
      access to content                              web server to redirect requests to the new location. After you configure the redirect,
      video on demand and live                       the first time a viewer submits a request for the object, CloudFront sends the
v




      streaming video                                request to the origin, and the origin responds with a redirect (for example, 302
      Use functions to customize at the              Moved Temporarily). CloudFront caches the redirect and returns it to the viewer.
v




      edge
                                                     CloudFront does not follow the redirect.
      Reports, metrics, and logs
                                                     You can configure your web server to redirect requests to one of the following
vvy




      Security
      Troubleshooting                                locations:
      Quotas                                          + The new URL of the object on the origin server. When the viewer follows the
      Code examples                                     redirect to the new URL, the viewer bypasses CloudFront and goes straight to
v




      Document history                                  the origin. As a result, we recommend that you don't redirect requests to the
                                                        new URL of the object on the origin.
                                                      + The new CloudFront URL for the object. When the viewer submits the request
                                                        that contains the new CloudFront URL, CloudFront gets the object from the new
                                                        location on your origin, caches it at the edge location, and returns the object to
                                                        the viewer. Subsequent requests for the object will be served by the edge
                                                        location. This avoids the latency and load associated with viewers requesting the
                                                        object from the origin. However, every new request for the object will incur
                                                        charges for two requests to CloudFront.

                                                     Transfer -Encoding                header




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       Amazon CloudFront                  <                                                                                                                       On this page
       Developer Guide                               Transfer -Encoding                    header                                                                   How CloudFront processes and
                                                                                                                                                                    forwards requests to your custom
                                                     CloudFront supports only the chunked value of the Transfer -Encoding header.                                   origin
      What is Amazon CloudFront?                     If your origin returns Transfer -Encoding: chunked, CloudFront returns the                                     How CloudFront processes
      Get started                                    object to the client as the object is received at the edge location, and caches the                            responses from your custom
      Configure distributions                        object in chunked format for subsequent requests.
      Caching and availability
                                                     If the viewer makes a Range GET request and the origin returns Transfer-                                     Did this page help you?
      Control the cache key with a policy
                                                     Encoding: chunked, CloudFront returns the entire object to the viewer instead of
      Control origin requests with a policy          the requested range.
      Add or remove response headers
      with a policy                                  We recommend that you use chunked encoding if the content length of your                                     Provide feedback
      Request and response behavior                  response cannot be predetermined. For more information, see Dropped TCP

                                                                                                                                                                  ©
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          How CloudFront processes HTTP.             connections.

          and HTTPS requests
          Request and response behavior
          for Amazon $3 origins
          Request and response behavior
          for custom origins                         View related pages + avstracts generated
                                                                                          by Al
          Request and response behavior
          for origin groups                             Lightsail» userguide
          Add custom headers to origin                  Manage request and response behaviors for Lightsail distributions
          requests                                      Lightsail distributions process requests, cache objects, and forward responses between
                                                        viewers and origins. Key behaviors include authentication, caching durations, forwarding
          How CloudFront processes range                client data, compression, conditional requests, cookies, and cross-origin sharing.
          GETs
          How CloudFront processes HTTP.                July 12, 2024
          3x status codes from your
          origin
          How CloudFront processes HTTP.                AmazonCloudFront »DeveloperGuide
          4xx and 5xx status codes from                 Request and response behavior    for Amazon S3 origins
          your origin                                   None
       > Generate custom error responses
                                                        June 8, 2024
      Add, remove, of replace content
vvy




      Use AWS WAF protections
      Configure secure access and restrict              AmazonCloudFront » DeveloperGuide
      access to content                                 Cache content based on cookies
      video on demand and live                          CloudFront caches objects based on cookies, forwarding all or specific cookies to origin
v




      streaming video                                   Configure cookie forwarding to cache separate versions
      Use functions to customize at the
                                                        November 21, 2024
v




      edge
      Reports, metrics, and logs
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      Security
      Troubleshooting
      Quotas
      Code examples                                  Discover highly rated pages + Avstracts generated
                                                                                                    by Al
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                                                        AmazonCloudFront » DeveloperGuide
                                                        What is Amazon CloudFront?
                                                        CloudFront speeds content delivery via edge locations, configures origin servers, offers
                                                        pricing options, provides technical resources.
                                                        January 15, 2025



                                                        AmazonCloudFront » DeveloperGuide
                                                        Invalidate files to remove content
                                                       Invalidate files from CloudFront edge caches, update existing files using versioned file
                                                        names, control versions of files served from distribution, serve different versions of files,




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            Amazon CloudFront                  <                                                                                                                                        On this page
            Developer Guide                                 AmazonCloudFront »DeveloperGuide                                                                                                  How CloudFront processes and
                                                            Request and response behavior    for Amazon S3 origins                                                                            forwards requests to your custom
                                                            None                                                                                                                              origin
           What is Amazon CloudFront?                                                                                                                                                         How CloudFront processes
           Get started                                      June 8, 2024                                                                                                                      responses from your custom
vvvvvyvy




           Configure distributions
           Caching and availability
           Control the cache key with a policy              AmazonCloudFront » DeveloperGuide                                                                                           Did this page help you?
                                                            Cache content based on cookies
           Control origin requests with a policy            CloudFront caches objects based on cookies, forwarding all or specific cookies to origin
           Add or remove response headers                   Configure cookie forwarding to cache separate versions
           with a policy                                                                                                                                                                Provide feedback
                                                            November 21, 2024
           Request and response behavior

                                                                                                                                                                                        ©
<




               How CloudFront processes HTTP.
               and HTTPS requests
               Request and response behavior
               for Amazon $3 origins
               Request and response behavior              Discover highly rated pages + Avstracts generated
                                                                                                         by Al
               for custom origins
               Request and response behavior                AmazonCloudFront » DeveloperGuide
               for origin groups                            What is Amazon CloudFront?
               Add custom headers to origin                 CloudFront speeds content delivery via edge locations, configures origin servers, offers
               requests                                     pricing options, provides technical resources.
               How CloudFront processes range               January 15, 2025
               GETs
               How CloudFront processes HTTP.
               3x status codes from your
               origin                                       AmazonCloudFront » DeveloperGuide
               How CloudFront processes HTTP.               Invalidate files to remove content
               4xx and 5xx status codes from                Invalidate files from CloudFront edge caches, update existing files using versioned file
               your origin                                  names, control versions of files served from distribution, serve different versions of files,
                                                            to users, roll forward and back between file revisions, analyze results of file changes,
            > Generate custom error responses               transfer new versions of files to edge locations.
           Add, remove, of replace content
                                                            June 2, 2024
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           Use AWS WAF protections
           Configure secure access and restrict
           access to content
           video on demand and live                         AmazonCloudFront » DeveloperGuide
           streaming video                                  HTTP 503 status code (Service Unavailable)
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                                                            CloudFront troubleshooting guide covers origin server capacity Issues, resource
           Use functions to customize at the                constraints handling, Lambda@Edge execution errors, and performance optimization
           edge
           Reports, metrics, and logs                       January 15, 2025
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           Security
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                            Exhibit 78
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WinView Raises $12 Million in Series B Funding to
Expand Platform Where Fans Predict Sports Live
While Watching TV
Graham Holdings, Discovery Communications, Ted and Zach Leonsis of Monumental Sports &
Entertainment and LionTree Partners join round to help fill a sports culture void by converting fans from
spectators into play-along-live participants




NEWS PROVIDED BY
WinView, Inc. 
May 15, 2017, 06:30 ET




SAN FRANCISCO, May 15, 2017 /PRNewswire/ -- WinView, Inc. (www.winviewgames.com), the nation's #1 second-
screen live TV sports prediction platform, announced a $12 million Series B funding round with participation from a first-
class investor group, including Graham Holdings Company, Discovery Communications, Ted Leonsis' Monumental
Sports & Entertainment and LionTree Partners. The funding will help WinView further develop and market its skill-based
mobile app across a range of professional sports, including baseball, basketball and football (MLB, NBA and NFL), by
converting fans and TV viewers from spectators into play-along-live participants.




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 WinView Raises $12 Million in Series B Funding to Expand Platform Where Fans Predict Sports Live While Watching TV



The WinView Games app brings together the worlds of live TV sports, mobile apps, games of skill and interactive
advertising so that sports fans and fantasy players can enjoy sports on TV in a new way by having more fun and
interacting with their favorite teams, and with each other. Available on iOS and Android, WinView Games allows users to


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play along      3:25-cv-01146-GC-JTQ
           in real                              Document
                   time with live televised sports         1-9to accurately
                                                   and compete    Filed 02/10/25
                                                                            predict thePage
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                                                                                                     field in order to win
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cash prizes. WinView Games is an ad-supported app that is 100% free to play. The games covered by WinView are
produced in a live studio by a team of producers based on what is happening in real time.


Investors in the Series B round include:


      Graham Holdings Company (NYSE: GHC): A diversified holding company whose principal operations include
      Graham Media Group, which owns seven television broadcast stations in major markets and Kaplan, a global
      provider of educational services. The Company also owns Slate, an on-line magazine; Panoply, a premium
      podcast network; SocialCode, a leading social marketing solutions company; Graham Healthcare Group, and
      several manufacturing businesses.
      Discovery Communications (NASDAQ: DISCA): A leading global media and entertainment company reaching 3
      billion cumulative viewers with a portfolio of premium nonfiction, lifestyle, sports and kids content brands.
      WinView looks forward to pursuing opportunities to deepen its relationship with Discovery and its content brands,
      including Eurosport the leading provider of locally relevant, premium sports across Europe.
      Ted Leonsis, Founder of Monumental Sports & Entertainment, and Zach Leonsis: Own and operate five
      professional sports teams (Washington Capitals, Washington Wizards, Washington Mystics, Washington Valor and
      Baltimore Brigade) and the Verizon Center in Washington, D.C. Ted Leonsis also serves on the board of governors
      for the NBA and NHL, and he was previously president of AOL (1993 to 2006).
      LionTree Partners: The merchant banking arm of LionTree LLC, a differentiated global investment and merchant
      banking firm founded in 2012, with a focus on media, technology and telecommunications.


The funding round was driven by cable television and next-gen TV pioneer Tom Rogers, who is Executive Chairman of
WinView, Inc. Previously Mr. Rogers was Chairman, President and CEO of TiVo, President of NBC Cable and Executive
Vice President of NBC and Chairman and CEO of PRIMEDIA, Inc.


"This first-class group of investors is a major validation of our live TV sports prediction platform and its upside potential
to engage TV viewers in a new way to enjoy televised sports," said Tom Rogers, Executive Chairman of WinView, Inc.
"The WinView Games app fills a sports culture void by converting fans and TV viewers from spectators into play-along-
live participants. Following last fall's successful start, these investments will enable us to take a significant step forward
toward reaching our mobile, social and gaming business goals while capitalizing on fan excitement across virtually all
professional sports including basketball, baseball and football. We also will strive to be part of the in-stadium
experience, enabling fans to predict plays from their seats."


"The WinView Games app is changing the way fans watch live TV sports," said David Lockton, founder and CEO of
WinView, Inc. "Our two-screen technology now backed by 40 patents enables sports fans to get closer to the action
and create social connections while testing their knowledge of the sport through in-game predictions. With a skill-
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based multi-sport                             Document
                  platform that offers immediate            1-9we are
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                                                                                          among    71 while
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greater tune-in to live televised sports."


Added Lockton, "Predicting what will happen next is core to the sports viewing experience, as fans are constantly
thinking ahead during the game and trying to anticipate the action on the field. As the changing landscape of sports
and technology continues to evolve with millennials defining the dual-screen age, the 85% of sports viewers who watch
sports with their mobile device in hand, can now get into a free game and win money while testing their knowledge."


Timothy O'Shaughnessy, President and CEO of Graham Holdings Company, said: "WinView's platform is a fun, exciting
and dynamic new way for sports fans to engage during the most popular live programming on TV today. WinView is
well positioned to establish its product as the new social interactive paradigm where fans and friends are competing to
predict what's going to happen from the first to the very play of the game."


David Zaslav, President and CEO of Discovery Communications, said: "WinView's products complement Discovery's
goal to reach and engage our superfans around the world and across all screens. The company has strong expertise in
mobile and sports; a business and engagement model poised to help drive consumption of live content; and a top-
notch leadership team. We are pleased to participate in this round of funding to support the growth and development
of their platform."


Ted Leonsis, founder and CEO of Monumental Sports & Entertainment, said: "As a team owner, any avenue that creates
a greater relationship between the fan and their favorite team and players, as well as greater fan excitement and
intimacy, is what local sports franchises are all about. It's my belief that WinView locks fans more deeply into the game
experience and rounds out their desire to interact with other fans and prove their knowledge, predictive power and
understanding of the sport."


Zach Leonsis, Vice President and General Manager of Monumental Sports Network, said: "WinView really capitalizes on
what so many fans are already doing: scrolling around on their mobile devices while they watch games on the big
screen. It makes fans a part of the action and it drives huge user engagement. That's a big piece of what's so powerful
about real-time sports gaming – it gives fans the chance to become players, and gives us all a shared experience that
builds on the intense passion of being a sports fan."


Aryeh B. Bourkoff, founder and CEO of LionTree LLC, said: "In our role as investor and advisor, we recognize that
delivering content, particularly to younger audiences, in new, interactive and exciting ways is critical to success.
WinView's platform provides users with a unique and innovative experience that deepens their engagement with
content, and one another, in real time. Given the success of play-along mobile sports and gaming in Europe, we are
confident that WinView has a significant opportunity to advance this trend in the U.S. and we are excited to be a part of
driving this business forward."
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LaunchedCase  3:25-cv-01146-GC-JTQ
         in 2014, WinView Games previouslyDocument   1-9 and
                                          raised $8 million Filed 02/10/25
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                                                                                   evolution     PageID: TV
                                                                                             of two-screen
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entertainment in the U.S, as in-game sports predictions already has caught on and become more popular than daily
fantasy sports in Europe.


About WinView Inc.



WinView, Inc. is a Silicon Valley and New York based company that is focused on free mobile two-screen synchronized
televised sports games for prizes in the U.S. The Company plans to leverage its extensive experience in pioneering
real-time interactive television games played on the mobile second screen, its foundational patents and unique
business model. The WinView app is an end-to-end two-screen TV synchronization platform for both television
programming and commercials. The free skill-based WinView Games app uniquely enhances TV viewing enjoyment
and rewards sports fans with prizes as they answer in-game questions while competing with friends in real time during
live televised sports. These free games of skill are legal in every state. For more information, please visit
www.winviewgames.com.



About WinView Inc.'s Intellectual Property



WinView's portfolio of 40 foundational patents covers the synchronization of the second-screen with TV broadcasts and
commercials and the optimum methods of monetizing sports-based games of skill, among other types of programming
content. The WinView platform provides sponsors and advertisers with exclusive access to all the two-screen game
participants through sponsorship of the game, in-game videos and incentivized interactive commercials in sports
telecasts. The Company plans to expand its service in partnership with the leagues, TV and cellular industries,
leveraging its intellectual property to establish a two-screen synchronization standard across the entire TV broadcast
and cellular networks, which are industries that rely upon standards to function efficiently at scale.


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